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                                       TJNITED STATES BANKRUPTCY COT]RT

                                            EASTERN DISTRICT OF LOI]ISIANA

     fn re:                                                    s
                                                               $           Case No. 20-10846
     THE ROMAN CATHOLIC CHURCH OF                              $
     THE ARCHDIOCESE OF NEW ORLEANS,                           $          Section "A'o
                                                               $
                    Debtor.l                                   $           Chapter   11
                                                               $
                                                               s


                                   DECLARATION OF FR. PATRICK R. CARR
                                    IN SUPPORT OF FIRST DAY MOTIONS

               I, Fr. Patrick R. Carr, state under penalty of perjury that the following is true and correct:

               1.         I am a Director, the Third Vice President, and the Vicar of Finance for The Roman Catholic

   Church of the Archdiocese of New Orleans (sometimes referred to herein as the "Archdiocese of New

   Orleans," the "Archdiocese" or the "I)ebtor"), a non-profit religious corporation incorporated under the

   laws of the State of Louisiana, and the debtor in the above-captioned Chapter            ll   case (the   "Chapter    ll
   Case").

              2.         Except as otherwise indicated,    all facts set forth herein are   based upon my personal

   knowledge of the administration, operations and finances of the Archdiocese of New Orleans; information

   learned from my review          of relevant documents; and information provided to me by members of                  the

  Archdiocese's advisory team.          I   am authorized to submit this Declaration on behalf of the Archdiocese,

  and,   if called upon to testifu, I could and would testify competently to the facts    set forth herein.

                                       PART     I:   PRELIMINARY STATEMENT

             3.          To enable the Archdiocese to minimize the adverse effects of its reorganization in this

  Chapter I I Case and to avoid immediate and irreparable harm, the Archdiocese has requested various types



           I The last four digits of the Debtor's federal tax identification number are
                                                                                        8966. The Debtor's
  principal place of business is located at7887 Walmsley Ave., New Orleans, LA 70125.


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                                                                                                   EXHIBIT 6
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    of relief in its "first day" pleadings (each, a "First Day Motion"). The First Day Motions seek relief

    intended to allow the Archdiocese to effectively transition into reorganization under Chapter                1   I   and to

    minimize disruption of its operations, thereby preserving and maximizing the value of the Archdiocese's

    estate.

               4.     I am familiar with the contents of each First Day Motion (including the exhibits thereto),

   and I believe that the relief sought in each First Day Motion serves the interests of the Archdiocese's estate

   and creditors.

               5.     Part   II of this Declaration    provides a brief overview      of the Archdiocese's history,         its

   ministries and the circumstances affecting its financial condition which necessitated the commencement of

   this Chapter I I Case. Part III of this Declaration sets forth relevant facts in support of First Day Motions

   that address administrative issues. Part       IV of this Declaration     sets forth relevant facts in support of First

   Day Motions that address operational issues.

                       PART     II: BRIEF OVERVIEW OF THE MIMSTRIES OF THE
                               ARCHDIOCESE AND ITS FINANCIAL POSITION

              6.     The Catholic Church is today, and has been for more than three centuries, a vital part of

   the city of New Orleans and surrounding areas. Catholic institutions began ministries in what would

   become the State of Louisiana before New Orleans was founded in 1718. Created as a diocese in 1793, and.

   established as an archdiocese in I 850, the Archdiocese ofNew Orleans has educated hundreds ofthousands

   in its schools, provided religious services to millions in its churches and provided charitable assistance to

   countless individuals in need, including those affected by hurricanes, floods, natural disasters, war, civil

  unrest, plagues, epidemics and illness.

              7.     Currently, the Archdiocese's geographic fooþrint occupies over 4,200 square miles in

  southeast Louisiana and includes eight civil parishes           -   Jefferson, Orleans, Plaquemines, St. Bernard, St.

  Charles, St. John the Baptist, St. Tammany and Washington. Approximately 517,000 Catholics call the

  Archdiocese home. The Archdiocese of New Orleans consists of I 12 church parishes, which are served by

  2 13   archdiocesan priests and   ll2   religious order priests, who with the assistance of2   I9   permanent deacons,



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    celebrate daily and weekend Masses for Catholic parishioners. Nearly 33,000 students are educated

    annually from nursery through high school in both independent and archdiocesan owned Catholic schools

    operating within the geographic footprint of the Archdiocese. Catholic institutions of higher learning

    include two seminaries and three universities with a combined student population of over 8,800. Two

   Catholic schools exclusively serve sfudents with exceptional learning needs.

              8.    Catholicism in the Archdiocese of New Orleans involves more than Mass on Sundays and

   attendance at Catholic schools. Archdiocesan and other Catholic ministries support individuals, families

   and communities without regard to religion, race, ethnicity or economic status. Archdiocesan and other

   Catholic charities and social service programs provide assistance to the homeless, hungry, elderly and

   developmentally challenged, as well as to at-risk youth, pregnant women, and many others. Through its

   ministries, charities, and programs, the Archdiocese benefits the lives of nearly 500,000 residents of

   southeast Louisiana on a daily basis.

              9.    Operational challenges have strained the A¡chdiocese's financial position, have impacted

   its ability to sustain its ministries and charities, and have necessitated the commencement of this proceeding.

   The financial and operational difficulties burdening the Archdiocese range from claims and lawsuits

   alleging sexual abuse by clergy that occurred more than fifty years ago to losses ofrevenue from offerings

   and collections at Masses which are no longer publically celebrated due to the COVID-I9 pandemic.

           10.     On May 1,2020 (the "Petition Date"), the Archdiocese        will file a petition with the Court
  under Chapter 11 ofthe Bankruptcy Code. The purpose ofthis Chapter 11 Case is to develop a plan of

  reorganization, under the supervision of the Court, which    will facilitate the equitable distribution of assets

  to creditors in accordance with law, sustain the financial viability ofthe Archdiocese, and allow the Catholic

  Church to continue the religious and charitable ministries and programs it has fostered throughout New

  Orleans and surrounding areas for more than th¡ee hundred years.

          PART     III: FIRST DAY MOTIONS THAT               ADDRESS ADMINISTRATIVE ISSUES

          I   1.   Concurrently with the filing of the voluntary petition to corffnenca this Chapter l1 Case,

  the Archdiocese has filed a number of First Day Motions. The Archdiocese anticipates the Court              will
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    conduct a hearing within a business day or fwo after commencement of the Chapter 11 Case, during which

    the Court        will entertain arguments of counsel with respect to the relief      sought   in each of the First Day
    Motions.

                12'       Generally, the First Day Motions have been designed to meet the immediate goals of, (a)

    establishing procedures for the efficient administration of this Chapter             1l   Case; and (b) continuing the

    Archdiocese's operations during this Chapter 11 Case with as little disruption as possible. I have reviewed

    the First Day Motions, including the exhibits attached thereto, and believe that the relief sought in each              of
    the First Day Motions is narrowly tailored to meet the goals described above and, ultimately,           will   be critical

   to the Archdiocese's ability to achieve success through this chapter 1r case.

                13.       The following is a discussion of the First Day Motions that the Archdiocese will ask the

   Court to consider at the First Day Hearing.

   A.          Ex Parte Motion for an Order Limiting Notice                 &   Establishing Notice Procedures (the
               '6Motion to Limit Notice',) [Docket No. 3]

               14.        As previously discussed, the Archdiocese spans eight civil parishes in the metropolitan

   New Orleans area, with 112 separate church parishes (the "Parishes"). The A¡chdiocese provides a wide

   range of critical services to the Parishes pursuant to various Parish Service Agreements, eflective as                  of
   March      I,20ll     (the "Parish Service Agreements"). Consistent with its mission, the Archdiocese also

  provides      a   wide range of critical adminishative services to   7l independent   and archdiocesan owned catholic

  schools (collectively, the "Schools"). The Schools include (a) Parish-owned elementary schools and

  religious order schools (collectively, "Parish Schools"), (b) eight high schools and one special needs school

  owned and operated by the Archdiocese (collectively, the "Archdiocesan Schools"); and (c) one separately

  incorporated school for children with mild to moderate exceptionalities. Consistent with its mission, the

  Archdiocese also provides administrative services to separately incorporated nursing homes, affordable

  senior living facilities, and other community service entities and facilities (collectively, the "tr'acilities").

  The Parishes, Parish Schools, Facilities, and other Catholic-related entities within the Archdiocesan




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    Boundaries to whom the Archdiocese provides administrative services are collectively referred to as the

    "Non-Debtor Catholic Entities."

               15.    On the Petition Date, the A¡chdiocese filed its Motion to Limit Notice. The Archdiocese

    seeks entry of an order limiting notice to certain creditors and parties-in-interest as well as to establish

   certain notice procedures. The Archdiocese also respectfully requests approval ofthe "special Notice      List,"
   as defined in the Motion to    Limit Notice, and approval to update and amend the Special Notice List from

   time to time and to add parties requesting notice without further motion or order form this Court. The

   Special Notice List is requested in the Motion to Limit Notice to provide necessary creditors and other

   interested parties with adequate opportunity to object as required by the Bankruptcy Code and Bankruptcy

   Rules. Specifically, the Motion to Limit Notice provides notice will be given    to: (a) creditors who claim to
   hold security interests or liens, including Hancock Whitney Bank, KS State Bank, and Dell Financial

   Services LP, together with any of their known counsel; (b) the Archdiocese's twenty (20) largest unsecured

   creditors, together with any of their known counsel; (c) all parties who have requested special notice

   pursuant to Bankruptcy Rule 2002, together with any of their known counsel; (d) counsel for any official

   committee appointed herein; (e) the Offîce of the United States Trustee for the Eastern District of Louisiana;

   and   (f) all applicable govemmental   agencies   to the extent required, together with any of their known

   counsel.

              16.    Furthermore, the relief sought through the Motion to Limit Notice does not contravene the

  Bankruptcy Rules in that the Special Notice List will not apply to: (a) notice of the first meeting of creditors

  pursuant 1o section 341 of the Bankruptcy Code; (b) notice of the time fixed for filings proofs of claim; (c)

  notice of the heating to consider approval of the disclosure statement and confirmation of a plan; (d) notice

  of the times fixed to submit ballots for accepting or rejecting the plan; (f) notice of any hearing on dismissal




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    of this Chapter 11 Case; and any other notice required to be served on the entire mailing matrix by the

    Bankruptcy Code or the Bankruptcy Rules.2

    B.             Expedited Motion for an Order Authorizing the Debtor to Fite Portions of the Schedules and
                   SOFA, the Master Creditor Mailing Matrix, Other Pleadings and Documents Under Seal (the
                   "Motion to File Documents Under Seal") [Docket No. 4]

                    17.   On the Petition Date, the Archdiocese filed its Motion to File Documents Under Seal. The

   Archdiocese seeks entry of an order limiting notice to certain creditors and parties-in-interest as well as to

   establish certain notice procedures. Many of the unsecured creditors in this Chapter l1 Case are individuals

   whose claims against the Archdiocese are premised on allegations of abuse ("Abuse Claimants"). Some

   Abuse Claimants have filed claims in courts against the Archdiocese. Many, but not all, of the Abuse

   Claimants who have filed claims in courts have chosen to file their claims against the Archdiocese using a

   pseudonym, with their real identity to be revealed only to the defendants in the court of litigation and with

   the understanding that their identities would not be publicly disclosed. Other Abuse Claimants are non-

   litigants who contacted the Archdiocese prepetition, either with or without the assistance of counsel, and

   asserted claims of abuse by Archdiocesan employees or agents with the understanding that the Archdiocese

   would protect their identities and keep their claims confidential. The Archdiocese has also previously

   entered into out-of-court settlements with some of those Abuse Claimants where the Archdiocese agreed to

   keep the Abuse Claimant's name confidential but did not require the Abuse Claimant to keep the settlement

   confidential. In all instances, the Archdiocese has not objected to, and in fact has supported, the choice of

   each Abuse Claimant as to whether to keep their identity confrdential or to publicly disclose their identity.

                  18.     In light of the sensitive nature of the claims of the Abuse Claimants, to avoid causing

  unnecessary anguish and to encourage such individuals to feel safe and secure in advancing their claims

  without fear of retribution or reprisal, the Archdiocese submits that it would be inappropriate to require the

  public disclosure of identifying information relating to Abuse Claimants who have, either informally,



                 2Se" a/so Section 6 of the local Administrative Procedures for the United States Bankruptcy
  Court for the Eastem District of Louisiana.


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    formally, or through frling a lawsuit, notified the Archdiocese of allegations of abuse by clergy members,

    or others persons employed by Catholic entities or otherwise subject to Archdiocesan supervision.

               19.     The Archdiocese has voluntarily agreed to confidentiality restrictions as requested by

   Abuse Claimants for some time, and believes that it is imperative that the decision to come forward and

   identify oneself   as an Abuse   Claimant be left to the individuals in question, and that such accommodations

   can be made without adversely affecting the rights of any other parties in interest.

              20.     The Archdiocese respectfully requests permission to protect the identities of the Abuse

   Claimants while providing them notice of this Chapter 1l Case and notice of such events and motions as is

   required by the Bankruptcy Code and applicable Bankruptcy Rules. The Archdiocese further seeks to share

   names and contact information for Abuse Claimants with the Court and Bankruptcy Clerk under seal. It is

   proposed that Abuse Claimants currently represented by counsel be given notices in the Archdiocese's

   Chapter l1 Case other through their respective counsel. In the Motion to File Documents Under Seal, the

   Archdiocese seeks leave ofthe Court to serve notice of this Chapter         1   I   Case, and other requisite notices,

   directly on Abuse Claimants who have advised the Archdiocese of potential claim, but have not yet

   identified counsel, without disclosing those Abuse Claimant's names or addresses to other parties. At the

   time of filing, the Archdiocese has contact information for all but one of these Abuse Claimants.

   C.        Expedited Application to Employ Donlin Recano ("DRC") as Claim, Noticing and Solicitation
             Agent for the Debtor Nunc Pro Tunc to the Petition Date (the'oDonlin Recano Application")
             [Docket No. 10]

             20.      On the Petition Date, the Archdiocese filed its Donlin Recano Application.                    The

  Archdiocese is seeking authorization of the Court to retain and appoint Donlin, Recano & Company, Inc.

  ("DRC")      as the claims, noticing and solicitation agent to assrlme   full responsibility for the distribution of

  notices and the maintenance, processing and docketing of proofs of claim filed in the Chapter 11 Case.

             21.     The Archdiocese anticipates that there   will   be thousands of entities to be noticed. In view

  of the number of anticipated claimants and the complexity of the Archdiocese's business, the Archdiocese

  submits that the appointment of a claims and noticing agent is both necessary and in the best interests of

  both the Estate and its creditors. By appointing a claims and noticing agent in the Chapter 11 Case, the

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    distribution of notices and the processing of claims will be expedited, and the Clerk's office will be relieved

    of the administrative burden of processing what may be an overwhelming number of claims.

                 22.    The Archdiocese seeks to retain DRC to provide a number of administrative and noticing

    services, as expounded on in the Donlin Recano Application. DRC will also be able to provide confidential

    on-line work spaces or virtual data rooms. V/hile the Claims Register maintained by DRC would be open

    to the public for examination without charge, DRC would also be able to maintain confidentiality provided

    for by any orders of the Court. Additionally, DRC would also assist with solicitation, balloting            and

   tabulation and calculation ofvotes for purposes ofplan voting.

             23.       DRC is one of the country's leading chapter 11 administrators, with experience in noticing,

   claims administration, and facilitating other administrative aspects of chapter 1l cases. DRC has provided

   identical or substantially similar services in other chapter 1l cases filed both in this District and elsewhere.

   The Archdiocese submits, based on all engagement proposals obtained and reviewed, that DRC's rates are

   competitive and reasonable given DRC's quality of services and expertise. The terms of retention are set

   forth in the Standard Claims Administration and Noticing Agreement attached         as   Exhibit B to the Donlin

   Recano Application.

            24.        The Archdiocese respectfully submits that authorizing DRC to act as claims and noticing

   agent for the maintenance and processing of claims and the distribution of notices, as laid out more    fully in
   the Donlin Recano Application, is in the best interests of the Archdiocese's estate and all parties in interest,

   due in part to the large number of anticipated claimants and the confidential nature of many of the claims

  and the claimants' identities. The Archdiocese requests the Court approve Donlin Recano as the claims,

  noticing and solicitation agent.




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                PART IV FIRST DAY MOTIONS THAT ADDRESS OPERATIONAL ISSTJES

    A.          Expedited Motion       for Order (A) Prohibiting Utilities from Altering Refusing                    or
                Discontinuing Services to, or Discriminating Against, the Debtor on Account of Prepetition
                Amounts Due, @) Establishing Procedures for Adequate Assurance for Determining
                Requests, and (C) Scheduling a Final Hearing ("Utilities Motion') [Docket No. 81.

                25.     On the Petition Date, the Archdiocese filed its Utilities Motion. The Archdiocese requests

   that the Court enter interim and final orders: (a) prohibiting the Utility Companies from altering, refusing

   or discontinuing services on account of prepetition amounts due; and (b) establishing procedwes for

   determining requests for additional adequate assurance.

                26.     In connection with its operations in eight civil parishes in the metropolitan New Orleans

   area, the Archdiocese has over 44 utllíty accounts with various     Utility Providers (collectively, the "Utility

   Providers"). The Archdiocese is responsible for utilify      expenses at numerous locations, including       utility
   expenses for water, electricity, waste and gas and communications in the ordinary course ofbusiness.3 The

   Archdiocese estimates that the average aggregate monthly amount owed to the               Utility Companies      is

   approximately $385,000. The range of services the Archdiocese provides includes administrative services

   to the Archdiocese and the Non-Debtor Catholic Entities, íncluding the Parishes, Schools, and Facilities.

             27.       Unintemrpted utility service is essential to the Archdiocese's ongoing operations and,

  therefore, to the success      of the A¡chdiocese's reorganization. The Archdiocese could not operate the
  business in the absence of continuous utility service. Should any       Utility Company refuse or discontinue

  service, even for a brief period of time, the Archdiocese may be forced to cease its operations, resulting in

  a substantial disruption of their business and loss of revenue. The temporary or permanent discontinuation

  of utility services could irreparably harm the Archdiocese's business and jeopardíze the Archdiocese's

  reorganization efforts.

            28.       The Archdiocese has historically paid its Utility Companies on a regular and timely basis.

  As of the Petition Date, the Archdiocese believes it was current with all Utility Companies, except to the



            3
                A list of the Archdiocese's Utility Companies is attached to the Utility Motion   as   Exhibit A.


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     extent that (a) the Archdiocese has not yet been billed for pre-petition utilify services, (b) the Archdiocese

     had been billed by payment for such services was not yet due, or (c) checks have been written but have not

     yet cleared the Archdiocese's bank accounts. The Archdiocese intends to pay posþetition obligations to

    the Utility Companies timely. The Archdiocese       will make   these payments from its cash reserves as of the

    Petition Date and cash generated through its continued operations.

    B.          Expedited Motion for Interim and Final Orders (a) Authorizing the Debtor to Continue
                Insurance Coverage Entered into Prepetition and Satisfy Prepetition Obligations Related
                Thereto, (b) Authorizing the Debtor to Renew, Amend, Supplement, Extend, or Purchase
                Insurance Policies, and (c) Scheduling a Final Hearing (the oolnsurance Motion',) [Docket No.
                61.


                29.    On the Petition Date, the Archdiocese fited its Insurance Motion. The Archdiocese

    requests that the Court enter interim and final orders authorizingtheA¡chdiocese to: (a) continue insurance

    coverage (collectively, the 66lnsurance Program") entered into prepetition,            (b) satisfy prepetition
    obligations related thereto, including paying any applicable premiums, fees, deductibles, and self-insured

    retentions, and (b) renew, amend, supplement, extend, or purchase additional insurance policies, as needed,

    in the ordinary course ofbusiness.

             30.       Approximately 220   to 230 of the Non-Debtor Catholic Entities participate with         the

   Archdiocese in the Insurance Program (the "Participating Non-Debtor Catholic              Entities"). In   each

   instance, the Participating Non-Debtor Catholic Entíties reimburses the Archdiocese assessed fees for its

   share of the costs to participate in the Insurance Program.a The overall costs of the Insurance Program for

   the Archdiocese and Participating Non-Debtor Catholic Entities are reduced by the inclusion of the

   Participating Non-Debtor Catholic Entities in the Insurance Program. The failure of the Archdiocese to

   maintain the Insurance Program could lead to increase cost of insurance to the Archdiocese. Additionally,

   insurance coverage     is required by the regulations, laws, and contracts that govern the Archdiocese's




            a
           Consistent with past practices, the Archdiocese will continue to assess each of the Participating
   Non-Debtor Entities their share of premiums paid on/or owed on the various insurance policies and with
   respect to the applicable self-insured retentions.



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     activities, including the Office of the United States Trustee's requirement that a debtor maintain adequate

    coverage given the circumstances of this Chapter I I Case.

                 31.     The Archdiocese maintains the Insurance Program that includes a combination of self-

    insured retentions and deductibles, coverage from a self-insurance fund, a captive insurer, commercial

    insurers, excess or stop loss coverage, and third party administrators who maîage different types of insured

    claims (collectively, the "Insurance Program").

                32. In May 2011, to reduce the cost of insurance,               the Archdiocese incorporated The

    Archdiocese        of New      Orleans Indemnity, lnc. ("ANOI"),      a non-profit   captive insurance company

    incorporated in the State of Vermont. The Archdiocese initially capitalized ANOI with a $2,000,000 capital

    infusion. In the fiscal year ended June 30, 2016, ANOI declared a dividend of $2,000,000, and paid              the

    dividend to the Archdiocese, thereby recovering its initial investment. ANOI also declared a dividend of

    $875,000 in fiscal year 2018, and dividend of $2,500,000 in fiscal year 2019.

                33.     Health Csre Insurance Progrøm. In the current enrollment period the Archdiocese

   maintains a health care insurance program (the "Health Care Insurance Program"), with a combined

   enrollment of approximately 3,900, including frrll and part-time employees, substitute teachers, and clergy.

   Each month, Arthur J. Gallagher           &   Company. (o'Gallagher") collects money for the Health Insurance

   Program from the Archdiocese and each of the Participating Non-Debtor Catholic Entities, in the aggregate,

   approximate amount of $2,700,000, although the total may vary depending on factors such as the number

   of   covered participants (the "Collected Funds"). On the first day            of   each month, Gallagher remits

   approximately       52o/o   of lhe Collected Funds to the Archdiocese, in order to reimburse the Archdiocese for,

   among other things, (a) the Health Care SIR, (b) premiums for the ANOI Health Care Coverage, (c)

   premiums for the Excess Medical Coverage, (d) the UMR Fees and Gallagher Fees (each as discussed

   below), and (e) other general costs of administration. Gallagher remits the remaining, approximate 48Yo of

   the Collected Funds to ANOI for the ANOI Health Care Coverage. Before the Petition Date, Gallagher

   remitted the Collected Funds for Aprll 2020 to ANOI and the Archdiocese, and, on or about }y'ray         l,   2020,

   will remit Collected Funds for l|day 2020.

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                    34.         Claims made under the Health Insurance Program are managed and processed by UMR,

     Inc. ("UMR"), a company affiliated with United Healthcare, acting as a third party administrator. For those

    services, UMR is paid, in advance, a monthly fee in the approximate amount of $90,000 (the "UMR Fee").

    The next UMR Fee is due and payable on May 1,2020, and compensates UMR for services rendered in the

    month of May 2020. The UMR Fee, therefore, does not include any fees for a period before the Petition

    Date. In the Insurance Motion, the Archdiocese seeks authority to continue to pay, in the ordinary course

    of business, the UMR Fees.

                35.             As covered health care claims are approved by UMR, the Archdiocese pays all claims up

    to the $300,000 ANOI Health Care Limit, and ANOI reimburses the Archdiocese for all such payments

    over the $10,000 Health Care SIR. The Archdiocese estimates that health care claims that arose before the

    Petition Date will range from $2,500,000 to $3,000,000. Of that amount, ANOI is responsible for paying

    approximately              48%o,   while the Archdiocese is responsible for paying the remaining 52% (or $1,400,000 to

    $1,600,000). Gallagher               will have remitted   52Yo   of the Collected Funds to the Archdiocese for the payment

   of the Health Care SIR for itself and the Participating Non-Debtor Catholic Entities.

                36.            A premium is paid for the ANOI Health Care Coverage. The next premium is due on or

   about August20,2020, and the Archdiocese                          will   need to pay $1,500,000, or 52Yo   of such premium.
   Gallagher            will   have remitted 52Yo of the Collected Funds to the Archdiocese for the payment             of   the

   premium for itself and the Participating Non-Debtor Catholic Entities.

                37.            Each month, UHP is paid a premium for the Excess Medical Coverage, in the approximate

   amount of $75,000, with the next paynent due on or about May 15, 2020,for the month of ly'ray 2020.

                38.            The policy year for the ANOI Health Care Coverage and the Excess Medical Coverage

   expires on June 30,2020. To the extent necessary, the Archdiocese further seeks authority to renew, amend,

   supplement, extend, or purchase health care insurance, as needed, in the ordinary coluse of business,

   consistent with its past practices.

                39.            ÚVorkers' Compensøtíon. The A¡chdiocese and Participating Non-Debtor Catholic

   Entities have approximately 7,700                  full   and part-time employees, with approximately 400 workers'

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       compensation claims being made each year. The Archdiocese is self-insured up to $800,000 per occurrence

       for workers compensation, with no aggregate maximum (the "Workerst Compensation SIR"). Hancock

       Whitney has issued the following two standby letters of credit for the account of the Archdiocese: (a) to the

       Louisiana Workforce Commission,       in the amount of $400,000; and (b) to the Mississippi Workers'

       Compensation Commission, in the amount of $100,000.

               40.      The Archdiocese estimates that $2,150,000 is or    will be owed with   respect to workers'

    compensation claims that are attributable to the period before the Petition Date and that are within the

    Workers' Compensation SIR. The Archdiocese estimates thatpaynents within the Workers'Compensation

    SIR through June 15, 2020 wlll be approximately $750,000.

               41.      Workers' compensation claims that exceed the Workers' Compensation SIR are insured

   (the "Excess lVorkerso Compensation fnsurance") by a non-affiliated insurer                 in the   commercial

   insurance market, Safety National. A monthly premium in the approximate amount of $20,000 is paid on

   and with respect to the Excess Workers' Compensation Insurance. The next monthly premium due on the

   Excess Workers' Compensation Insurance is due on l|i4;ay 20,2020, and covers the month of May 2020.           Irt
   the Insurance Motion, the Archdiocese seeks authority to continue to pay, in the ordinary course of business,

   the premiums due on Excess Workers' Compensation Insurance.

              42.      Property, Casuølty, ønd Other Types of Coverage. The Archdiocese and Participating

   Non-Debtor Catholic Entities are also covered through the Catholic Mutual Relief Society of America

   ("CMRS"),      a   pooled self-insurance fund of the Roman Catholic Church for Catholic organizations in the

   United States and Canada. CMRS either covers the loss directly through its self-insurance firnd, or acts     as


   a   broker and arranges for other insurers to cover certain losses. The coverage issued by CMRS (the "CMRS

   Certificate"), togetler certain additional coverages obtained from Bollinger Insurance Company

   ("Bollinger Insurance Policies", and, collectively with the CMRS Certificate, the "Other Insurance

   Coverage"), provides a broad range ofcoverage, including property and liability coverages, each subject

   to certain terms, conditions, limits, and self-insured retentions and deductibles (collectively, the "Other

   Insurance SIR"). The next monthly payment with respect to the CMRS Certificate is due on May 20,2020,

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     is in the amount of approximate amount $625,000, and covers the month of May 2020. No premium is due

     with respect to the Bollinger Insurance Policies.

               43.       For claims that   are attributable   to the period before the Petition Date, the Archdiocese

    estimates that amount that       will be owed with        respect   to the Other Insurance SIR is approximately

    $2,200,000. The estimate of the amount that        will   need to be paid through June 15, 2020 is $500,000.

              iv.        Floodlnsurunce.

              44.        The Archdiocese places flood insurance on cer|ain      ofits properties and certain properties
    owned by Participating Non-Debtor Catholic Entities (collectively, the "Flood Polices"). Premiums on

    Flood Policies are paid, in advance, for an upcoming l2-month period. After the Petition Date, a number

    of Flood Policies will need to be renewed, and the Archdiocese estimates that renewed premiums will be

    approximately    $   175,000 for premiums due in May 2020, and approximately $400,000 for premiums due in

    Jtne2020.

              45.    Automobile Insurønce. The Archdiocese and Participating Non-Debtor Catholic Entities

    have approximately 231 automobiles, with the tiability being self-insured up to $300,000 (the "Auto SIR',),

    after which the CMRS Certificate provides excess coverage for covered claims after a deductible (the "Auto

   Deductible"). The Archdiocese estimates that approximately $310,000 is or will be owed with respect to

   claims attributable to the period before the Petition Date with respect to the Auto lnsurance SIR and Auto

   Deductíble. The Archdiocese also manages and administers a clergy automobile insurance program (the

   "Clergy Auto fnsurance"), pursuant to the Parish Service Agreements, with coverage through Church

   Mutual. The Clergy Auto Insurance currently covers approximately 193 automobiles, with the liability after

   a small   deductible. The premium is paid monthly in advance. The next payment of approximately $60,800

   due May 15,2020.

             46.     The CRMRS Fees ønd Galløgher ^Fe¿s. CMRS also provides administrative services to

   the Diocese and Participating Non-Debtor Catholic Entities (the "CMRS Services") with respect to claims

   that may be workers' compensation claims and claims that may be covered by the CMRS Certificate. For

   the CMRS Services, the Archdiocese pays CMRS a monthly fee of approximately $64,000 (the "CMRS

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     Fee"). The next payrnent of CMRS Fee is due and payable on May 20,2020, and includes compensation

     for CMRS Services rendered during the month of May.

                 47.    The Archdiocese obtains some insurance policies through its insurance broker, Gallagher.

     Gallagher also assists the Archdiocese in obtaining and maintaining, in the most cost-efficient manner,

     comprehensive insurance coverage for operations, negotiates policy terms, provisions, and premiums. In

     addition to the premium paid on the insurance policies, Gallagher also provides services in connectíon with

     assessing and collecting the Collected Fees (as defined above), and dispersing the same to    ANOI and the

    Archdiocese (as previously discussed). For these serices, Gallagher is paid a fee $35,000 each month (the

    "Gallagher Fees"). The next payment of the monthly Gallagher Fee is due on May 1,2020, and covers

    the month of May 2020.

                48'    Conclusíon. In the Insurance Motion, the A¡chdiocese seeks an Interim and Final order

    for (a) authority to maintain the Insurance Program that existed before the Petition Date, and to satisfy

    prepetition obligations related thereto, including paying any applicable premiums, fees, deductibles, and

    selÊinsured retentions, as described in the Insurance Motion, (b) authority to renew, amend, supplement,

    extend, or purchase additional insurance policies, as needed, to maintain the Insurance Program, and (c) an

    order scheduling a final hearing. The Archdiocese has sufficient funds to pay the amounts described in the

   Insurance Motion in the ordinary course of business. Accordingly, the Archdiocese respectfully requests

   that this Court authorize and direct all banks, when requested by the Archdiocese, to receive, process, honor,

   and pay any and all checks or wire transfer requests in respect of the relief requested in the Insurance

   Motion.

   C.          Expedited Motion for Entry of (A) Interim and Final Orders (i) Authorizing the Maintenance
               of Existing Accounts, Continued Use of Existing Cash Management System, and Continued
               Use of Existing Business Forms, (ii) Waiving the Requirements of Section 345(b) of the
               Bankruptcy Code, and (iii) Granting Related Relief, and (B) an Order Scheduling a Final
               Hearing (the "Cash Management Motion") [Docket No. 91.

              49.      On the Petition Date, the Archdiocese fìled the Cash Management Motion. The

   Archdiocese requests that the Court enter interim and final orders (a) authorizing the maintenance         of
   existing accounts, continued use of the existing cash management system, and continued use of existing

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     business forms, (b) waiving the requirements of $ 345(b) of the Bankruptcy Code, and (c) granting relared

     relief. Additionally, the Archdiocese   requests a waiver   of certain guidelines (the "UST Guidelines"),

     established by the Office of the United States Trustee, Region 5 (the "UST").

                50.   The Cush Mønagement System and the Bank Accoants. In the ordinary course of

    business, the Archdiocese, as part of its Mission and Parish Service Agreement, routinely provides vital

    administrative services to the Non-Debtor Catholic Entities, including the Parishes. Before the Petition

    Date, and in the ordinary course of its business, the Archdiocese maintained a cash management system

    designed to, among other things, efficiently collect, concentrate, and disburse funds generated or managed

    by the Archdiocese (the "Cash Management System"). The Archdiocese oversees the Cash Management

    System on a daily basis and employ various controls for entering, processing, and releasing funds. The

    Archdiocese's books and records are maintained to reflect receivables, payables, promissory notes, and

    "due to/from" entries. These transactions occur as part of the routine, daily operation of the           Cash

    Management System, and, at any given time, there are claims owing between the Archdiocese and certain

    of the Non-Debtor Catholic Entities arising in corurection with the receipt and disbwsement of funds. The

   Archdiocese monitors and records fund transfers in its accounting system and can determine, trace, and

   account for each such transaction.

               51.    Before the Petition Date,   in the   ordinary course   of its   operations, the Archdiocese

   maintained certain demand deposit bank accounts (collectively, the "Bank           Accounts").   sþþ!¡}1,
   Exhibit C-2, and Exhibit C-3 to the Cash Management Motion identify each of the Bank Accounts for

   which the Archdiocese is seeking relief, the institutions at which they are held, and their uses before the

   Petition Date. As noted on Exhibit C-1, Exhibit C-2, andExhibit C-3, the Bank Accounts are each used for

   specific purposes, such as payroll, health care benefits, insurance premiums, or the receipt of charítable

   conhibutions. Exhibit C-l lists each of the Bank Accounts maintained by the Archdiocese for and with

   respect to the Archdiocesan School (collectively, the "Archdiocesan School Bank Accounts"). Exhibit

   C-2 lists all the Bank Accounts other than the Archdiocesan School Bank Accounts (collectively, the

   "Other Bank Accounts"). Exhibit C-3 is a list of four additional Archdiocesan School Bank Accounts

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    opened to hold funds that were received in   April 2020 relatedto The Coronavirus Aid, Reliei   and Economic

    Security Act (*CARES"). As noted on Exhibit C-I, Exhibit C-2 andExhibit C-3, the Archdiocesan School

    Bank Accounts are each used for specific pu{poses, such as payroll, health care benefits, insurance

    premiums, the receipt of charitable conhibutions, for handle funds made available through CARES.

               52.   Under the Cash Management System, depending on the type of payment obligations that

    are involved, the Archdiocese and all or certain of the Non-Debtor Catholic Entities transfer funds to certain

    Bank Accounts, so that the Archdiocese can remit the respective funds for and on behalf of itself and the

    participating Non-Debtor Catholic Entities. For example, as part of the administrative services it provides,

    on behalf of itself and all the Non-Catholic Entities, the Archdiocese handles the payment of health

    insurance premiums, related administrative expenses, and             the applicable self-insured    retention

    (collectively, the "Insurance Liabilities"). To fund their respective portion of the Insurance Liabilities,

   the Archdiocese and the Non-Debtor Catholic Entities directly or indirectly arrange for funds to            be

   transferred to the appropriate Bank Account (an "fnsurance Accounf'), from which Insurance Liabilities

   are   paid. Other payment obligations, such as payroll obligations,   are primarily made by each Non-Debtor

   Catholic Entity from separately maintained accounts, rather than being paid to the Archdiocese for

   disbursement for the account of such Non-Debtor Catholic Entities.

             53.     Separate   Ba¡k Accounts   are maintained with respect to each Archdiocesan School. The

   Archdiocesan School Bank Accounts include, for example, Bank Accounts for operating expenses and

   payroll obligations. Most of the Archdiocesan Schools maint¿in Bank Accounts for pre-funded tuition

   loans, pursuant to which a Bank financed student tuition payments (the "Financed Tuition Payments")

   for the families of children attending certain Archdiocesan Schools. The Bank deposits the total amount of

   the Financed Tuition Payments for a particular Archdiocesan School into a restricted account (a     "Tuition

   Reserve Account"). As families make payment on the Financed Tuition Payments to the Bank, the Bank

   transfers a corresponding amount from the Tuition Reserve Account to an unreserved Archdiocesan School

   Bank Account, after deducting an agreed upon administrative fee.




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               54.        Certain of the Bank Accounts hold funds that were donated to the Archdiocese with

     specific reshictions on use (the "Donor Restricted Bank Account Funds"). The Archdiocese acts as a

     custodian of the Donor Restricted Bank Account Funds, and, as such, the Archdiocese may have no claim

    to the Donor Restricted Bank Account Funds pursuant to applicable state law.

               55.        In the Cash Management Motion, the Archdiocese seeks authority to continue: (a) using

    the Cash Management System in a manner that is consistent with practices before the Petition Date, and (b)

    maintaining the Archdiocesan School Bank Accounts and the Other Bank Accounts in a manner that is

    consistent with practices before the Petition Date.

               56.        Porlfolío   A.   Consistent   with its mission and the Parish Service Agreements,        the

    Archdiocese affanges for the investment in, and management of, a custodial account known as portfolio              A
    ("Portfolio A"), a custodial account that is maintained        at Hancock Whitney Bank   ("Hancock"). The assets

    in Portfolio A include cash, cash equivalents, equity mutual funds, and other securitíes. On the Petition

   Date, and consistent with practices before the Petition Date, approximately 55Yo of the investrnents in

   Portfolio       A   are attributable to the Archdiocese (the "Archdiocese Portfolio       A Investment").     The

   Archdiocese Portfolio        A   investment includes (a) investments with restricted uses, such as the School

   Endowment Fund, the Reverend Elmer Ponton Trust, and the Priest Pension Fund (collectively, the

   "Restricted Portfolio A Assets"), and (b) investments with no such restrictions, such as the General Fund

   and the Parish Development Fund. The remaining 45Yo of the investments in Portfolio A are attributable

   to approximately 270 different accounts for Non-Debtor Catholic Entities who participate in Portfolio A

   (collectively, the "Non-Debtor Portfolio A Participants"). The majority of the Non-Debtor Portfolio A

   Participates are Parishes and Parish Schools, and the minority are other Non-Debtor Catholic Entities. In

   the Cash Management Motion, the Archdiocese seeks an lnterim and Final order that (a) authorizes the

   Archdiocese to maintain Portfolio         A in   a manner that is consistent with pre-petition practices, and (b)

   provides that Hancock shall not be liable to any party on account            of (a) following the   Archdioceses'

   instructions or representations as to any order of the Court, and (b) honoring any checks, drafts, wires, or

   electronic funds transfers presented in a good faith belief that this Court has authorized the honoring of

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     such checks, drafts, wires, or electronic funds transfers. In the Cash Management Motion, the Archdiocese

     seeks authority to maintain Portfolio A in a man¡er that is consistent with pre-petition practices.

                 57.    Portfolío B ønd the Deposit ønd Loøn Progrøm snd Fund. Consistent with its mission

     and the Parish Service Agreement, the Archdiocese also arranges for the investment in, and management

     of, an account commonly known as portfolio B ("Portfolio B"). The assets in Portfolio B include cash, cash

     equivalents and fixed income securities (including corporate bonds and govemment securities). The

    Portfolio B is used to manage and invest the cash of the Non-Debtor Catholic Entities and, to   a   much lesser

    extent, the Archdiocese. Consistent with practices before the Petition Date, approximately two percent (2Yo)

    of the assets in Portfolio B are attributable to the Archdiocese. For many years, assets in Portfolio B have

    also been used to provide the Archdiocese and certain of the Non-Debtor Catholic Entities with low-interest

    loans (the "Deposit and Loan Program") for construction, renovations, expansions, and other necessities

    (collectively, the "Loans"). Of the total Loans outstanding on March 31,2020, approximately 57.47Yo are

    Loans made to Parishes, approximately 15.95% are Loans made to Archdiocesan Schools, approximately

    23.99% are Loans made to other Non-Debtor Entities (including 0.79o/o to Parish Schools), approximately

    2.37o/o wete made to other Archdiocesan operations, and    approximately 0.23% were made to clergy.

               58.     Each Loan must meet certain criteria that are designed to ensure the borrower has both the

   need and ability to service the Loan. Generally speaking, to qualify for a Loan, 50o/o is required to be held

   on deposit in the Deposit and Loan Fund with the Archdioc ese,25%o is required to be pledged from donors,

   and the borrower is required to present a financial plan to fhe Archdiocese for servicing the remaining25o/o.

   Loans up to $100,000 require the approval of the Archdiocese's Chief Operating Officer or Chief Financial

   Officer; Loans from $100,000 to $500,000 also require my approval, as the Vicar of Finance. Loans in

   excess of $500,000 require the recommendation of the Archdiocesan Finance Council and the Archbishop's

   approval.

              59.      In the Cash Management Motion, the Archdiocese seeks authority to continue to approve

   and oversee Loans to the Non-Debtor Catholic Entities from funds available in Portfolio A, provided such

   Loans meet the existing loan criteria. Pending the Final Hearing, absent firrther Order of this Court, (a) no

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     Loans   will be made to the Archdiocese from the Deposit and Loan Fund, including the            Archdiocesan

     Schools, and (b) no Loans from the Deposit and Loan Fund           witl be made in an amount in      excess   of
     $100,000. No Loans will be made from Portfolio A, absent firther Order of this Court.

              60.     Credít Cørd Accounr. Finally, the Debtor has a credit card account with Hancock, bearing

     account number xxxx7044 (the "Visa Credit Card Account"). The Visa Credit Card Account has a limit

    of $20,000, and the balance on the Petition Date is approximately $3,940.00. In the Cash Management

    Motion, the Archdiocese seeks authority to maintain the Visa Credit Card Account, and to pay, in the

    ordinary course of business, amounts due and owing on the Visa Credit Card Account, including the balance

    as of the Petition   Date. The Archdiocese uses the Visa Credit Card Account for monthly euickBooks

    subscriptions, and for the payment of fees to the Louisiana Secretary of State to remain in good standing

              61.    Procedures   for   the Bønk Accounts ønd the Custodisl and Investment Accoants. The

    Bank Accounts and Custodial and Investment Accounts (collectively, the "Accounts") are handled with

    procedures for tracking the funds in the Accounts, and for transferring money and other assets in and out

    of the Accounts. These procedures are carefully designed to monitor different categories of         assets and

    frtnds, including, but not limited to, donor restricted assets. These policies and procedures further allow the

   Archdiocese to coordinate transfers between Accounts.

             62'    The Archdiocese has established detailed procedures for monitoring claims and payments

   from the Bank Accounts, so that Archdiocese can separate and demarcate paynents for claims that arose

   before the Petition Date from those that arise after the Petition Date, in order to comply with the Bankruptcy

   Code and this Court's Orders. The Archdiocese      will work closely with   the Banks to ensure that the Banlcs

   honor only those pa¡rments that the Archdiocese is authorized to make. If the relief requested in the Cash

   Management Motion is granted, the Archdiocese       will not pay, and each of the Banks will be directed not

   to pay, any checks drawn on the Bank Accounts before the Petition Date other than as specifically

   authorized by this Court.

            63.     The Existíng Business -Forms, Checks ønd Records. In the Cash Management Motion,

   the Archdiocese seeks authority to continue to use its business forms, which are used in the ordinary course


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     of its business, without alteration or change. It is important for the Archdiocese to continue using        the

     business forms without alteration or change given the nature and scope        of the businesses in which    the

     Archdiocese is engaged and the number of suppliers with whom the Archdiocese transacts business. To

     prevent unnecessary delay, confusion, and accrual of further expense to its estate, the Archdiocese requests

     that the Court waive any requirements of adding a "Debtor-in-Possession" legend or number to the business

    forms other than checks. The Archdiocese will begin using the "Debtor-in-Possession" stamp or legend for

    all checks as soon as possible.

              64.      To minimize expense to the estate, the Archdiocese also requests authority to continue to

    use all correspondence and business forms (including, but not limited to, letterhead, purchase orders,

    invoices, etc.), as well as checks and bookkeeping records existing immediately before the petition Date,

    without reference to the status as a debtor-in-possession. The Archdiocese purchases its checks and other

    business forms in    bulk. Changing     checks, correspondence and business forms would be unnecessarily

    burdensome     to the estate, as well as expensive and disruptive to the A¡chdiocese's operations. These

    additional costs   will   reduce the resources available in the Archdiocese's estate to satisfy the claims   of
    creditors and other parties-in-interest. Similarly, opening a new set of books and records as of the petition

   Date would create unnecessary administrative burdens and expense. For these reasons, the Archdiocese

   requests authority to continue to use the existing records as well as its checks and business forms without

   placing the label "Debtor in Possession" on such checks or business forms.

             65.       llaíver of Any Other Conflíuing UST Guídetines or Requírements of $ 345(b) of the

   Bønkraptcy Code. To the best of Archdiocese's knowledge, the following Banks are not authorized

   depositories in Louisiana (collectively, the "Non-Authorized Depository Banks"): Gulf Coast Bank              &
   Trust; Fifth District Saving Bank; First National Bank USA; BMO Hanis Bank; landl Home Bank; and

   Raymond James. Pursuant to $ 105 of the Bankruptcy Code, the Archdiocese requests a waiver of the UST

   Guidelines to allow the Archdiocese to maintain its existing Accounts at the Non-Authorized Depository

   Banks.




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              66.     In the interest of maintaining the continued and efficient operation of the Cash Management

     System during the pendency ofthe Chapter    1   I   Case, the Archdiocese requests that the Banls, including the

    Non-Authorized Depository Banks, be authorized and directed             to continue to administer, service,   and

    maintain the Accounts as such accounts were administered, serviced, and maintaincd before the Petition

    Date, without the necessity of any bond as required by g 3a5@) of the Bankruptcy code.

              67.     Pøyment of the CustodiøI Fees, Høncock Investment Fees, Portfolio A Investment Fees,

    und Bønk Fees. Periodic service charges and other fees are incurred related to Portfolio A, payable to

    Hancock, in its capacity as custodian of Portfolio A, which fees and services are generally paid monthly, in

    aüears at the end of the month (collectively, the "Custodial Fees"). Historically, the Custodial Fees are

    approximately of $9,500-$11,500 per quarter, and are debited from Portfolio         A.   Hancock also earns fees

    for services as an investment manager wifh respect to Portfolio B, in the range of $8,500 to $9,000 per

    month (the "Hancock Investment Fees"). Vy'ith respect to Portfolio A, fees are incurred for the services

   by consultants who are retained for investment advice, includíng CAPFinancial Partners, LLC, dlbla

   CAPTRUST Financial Advisors ("CapTrust"), and others (collectively, with CapTrust, the "Portfolio A

   Managers"). The Portfolio A Managers      are paid     from the income generated by the investments in Portfolio

   A    based upon the market value   of the investments, and allocated to the participants in Portfolio A (the

   "Portfolio A Investment Fees'). As of April 30, 2020, the Archdiocese estimates that approximately

   $196,000 is due in Portfolio A Investment Fees, including$65,725.64 due to capTrust.

             68.     Finally, the Archdiocese pays monthly fees for its bank accounts (as shown on Exhibit C-

   1,   Exhibit C-2, and Exhibit C-3) (the "Bank Fees") in the collective, approximate amount of $3,500. The

   Bank Fees are paid, in arrears, at the end of the month, by way of deductions from the Bank Accounts.

   Accordingly, no Bank Fees for the period before the Petition Date should be due and owing. Out of an

   abundance of caution, however, the Archdiocese seeks authority in the Cash Management Motion to pay

   any such Bank Fees that were not paid as of the Petition Date. In the Cash Management Motion, the

   Archdiocese seeks authority to pay, in accordance with past practices, the Custodial Fees, the Hancock

   Investment Fees, the Portfolio A Investment Fees, and the Bank Fes that become due after the Petition Date,

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     regardless of whether such Fees may be for a period before the Petition Date, and for authority to continue

     paying such Fees.

     D.         The Debtor's Expedited Debtor's Expedited Motion for (I) An Order Authorizing But Not
                Directing, the Debtor to Pay Certain Prepetition (A) Wages, Salaries and Other
                Compensation, (B) Employee Medical and Similar Benefits, and (C) Authorizing and
                Directing the Applicable Banks and Financial Institutions to Honor and Pay All Checks And
                Transfers Associated with the Foregoing_(the ..Wages Motion") [Docket No. 71.

                 69.   The Archdiocese's employees (the "Employees") perform a variety of critical functions

    for the Archdiocese. The Employees work in numerous ministries and other operations, providing

    ecclesiastical, managerial, financial, clerical, religious, and pastoral services to individuals with families

    living within the Archdiocese's territorial jurisdiction. The Employee's knowledge, skills                and

    understanding of the Archdiocese's ministries, mission, business operations and relationships are essential

    to the success of the Archdiocese and this Chapter 11 Case. Without the continued service and dedication

    of the Employees, it will be difficult, if not impossible, to effectively implement the Archdiocese's chapter

    11 shategy.

               70.     Therefore,   to minimize the personal hardship that the Employees (and, in turn,       the

   Archdiocese) would suffer if prepetition Employee-related obligations are not paid when due or as expected

   and to maintain morale and stability in the Archdiocese's workforce, the Archdiocese seeks authority to be

   exercised in its sole discretion, to pay and honor certain prepetition claims related to, among other things,

   wages, salaries, and other compensation, federal and state withholding taxes and other amounts withheld

   (including withholdings for garnishments, Employees' share of insurance premiums and taxes), health care

   benefits, vacation time, sick leave, and all other benefits that the Archdiocese has historically provided in

   the ordinary course of business (collectively, and as more fully described below, the "Employee Wages

   and BenefÏts"), and to pay all costs incident to the foregoing, as summarized on Exhibit B to the Wages

   Motion. The Archdiocese also seeks authority, to be exercised in its sole discretion, to continue           to

   reimburse Employees for various reimbursable expenses. In addition, the Archdiocese requests the right to

   modiff, change and discontinue any of the Employee Wages and Benefîts, and the policy related to



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     reimbursable expenses, and to implement new Employee Wages and Bene{îts in the ordinary course of

     business during this Chapter 11 Case in its sole discretion without the need for further Court approval.

                 71.    Wøges, Søløries, ønd Other Compensation. The Archdiocese's aggregate monthly

     compensation for the Employees, including wages and salaries, is approximately $2,913,988. Most of the

     A¡chdiocese's payroll payments are made by direct deposit through the electronic transfer of funds directly

     to the Employees, while the remaining payments are made via check. The Archdiocese pays its Employees

     on different schedules, including monthly, weekly, semi-monthly and bi-weekly basis. On average, the

    Archdiocese has an aggregate payroll expenses to Employees of approximately $2,913,988 per month (the

    "Payroll"). As is typical with payroll, Employees may           have accrued work days immediately before the

    payment of the Payroll. The last date on which the Employees were paid was           April 15, 17,24,25,27, and
    30,2020, andthenextscheduleddatetopayEmployees isMay 1,8, 15,25,and31. Additionally, since

    the last Payroll date, the Employees have continued to provide services to the Archdiocese and are thus

    entitled to receive pre-petition wages and benefits payable during the period before the Petition Date.

                72.    The Archdiocese's payroll is made by direct deposit through electronic transfer of funds

    directly to Employees, with the balance of Employees receiving checks. These payroll payments                  are

   primarily made through the Archdiocese's payroll processors, Crescent Payroll Solutions ("Crescent

   Payroll") and PrimePay ("PrimePay" together with Crescent Payroll, the "Payroll Services").

   Specifically, a few days before each payroll is paid, the Payroll Services receives an amount necessary to

   fund the payroll and taxes. Specifically,   a   few days before each payroll is paid, the Payroll Services receives

   an amount necessary to    pay: (i) the amount     necessary for the Archdiocese to fund the withholding portion

   of payroll; (ii) the amount neçessary for the Archdiocese to fund the payroll; and (iii) the amount necessary

   to pay the Payroll Services. The Payroll Services then processes direct deposit transfers or administers

   payroll checks to the Archdiocese's Employees. Additionally, thc Archdiocese use a third party services,

   AOD/B4time, Swipeclock, and IOI Time collectively the "Time Management Companies", to maintain

   time clocks and maintain Employee hours. The services of the Payroll Services and the Time Management

   Companies are crucial to the smooth functioning of the Archdiocese's payroll system and therefore to the

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    Archdiocese's operations generally. The Archdiocese pays a total of approximately $8,700 per month on

    account of the Payroll Services, including the payroll administration and certain other payroll related

    services. In addition, the Archdiocese pays its time Management Companies a total of approximately   $   1,200

    per month on account its services related to time keeping. As of the Petition Date, the Archdiocese does

    not believe it owes any money on account of the Payroll Services rendered before the Petition Date, while

    it does owe its Time Management Companies approximately $527.10 for services before the Petition Date.

    In the Wages Motion, the Archdiocese request that it be authorized, but not directed, to continue to honor

    its Payroll Services and Time Management Companies in the ordinary course of business, and to honor and

    pay any prepetition amounts related thereto.

                 73.   Because   all of the Employees are paid in arrears, as of the Petition Date, some of the

    Employees have not been paid all of their prepetition wages. Additionally, some Employees may be entitled

    to compensation because (a) discrepancies may exist between the amounts paid and the amounts that should

   have been paid, and (b) some payroll checks issued to Employees before the Petition Date may not have

   been presented for payment or may not have cleared the banking system and, accordingly, have not been

   honored and paid as of the Petition Date.

             74.       The A¡chdiocese believes that, as of the Petition Date (May 1), approximately $1,580,000

   to $1,650,000 in total accrued Employee'Wages, salaries and amounts withheld from Employees' payroll

   checks (but excluding, reimbursable expenses, medical benefìts and accrued vacation benefits) was earned

   before the Petition Date and remains unpaid to Employees (collectively, the "Unpaid Compensation").

   The Archdiocese seeks authority, but not direction, to pay the Unpaid Compensation in the ordinary course

   of business, as routinely done before the Petition Date. The Archdiocese believes that, as of the Petition

   Date, no individual Employee, including any Seasonal Employee, is owed more than $13,650 for Unpaid

   Compensation.

            75.        Deductíons ønd   llithholdings. During    each applicable pay period, the Archdiocese

   routinely deducts certain amounts from paychecks, including, without limitation, (a) garnishments, child

   support and similar deductions, and (b) other pre-tax and after-tax deductions payable pursuant to certain

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     ofthe Employee benefit plans discussed herein (such    as an Employee's share ofhealth care benefits and

    insurance premiums, legally ordered deductions, 401(k) and miscellaneous deductions) (collectively, the

    "Deductions"). The Archdiocese forwards the amount of the Deductions to the appropriate third-party

    recipients. On average, the Archdiocese has deducted approximately $325,000 from the Employees'

    paychecks per month. Due to the commencement of this Chapter 11 Case, however, certain Deductions

    that were deducted from Employees' earnings may not have been forwarded to the appropriate third-party

    recipients before the Petition Date. As of the Petition Date, the Archdiocese estimates that it has withheld

    but not remitted approximately $205,000 in Deductions. Accordingly, the Archdiocese seeks authority to

    continue to forward these prepetition Deductions to the applicable third-party recipients on a postpetition

    basis, in the ordinary course ofbusiness, as routinely done before the Petition Date.

            76.      Further, the A¡chdiocese is required by law to withhold from an Employee's wages

    amounts related to federal, state and local income taxes, social security and Medicare taxes for remittance

    to the appropriate federal, state or local taxing authority (collectively, the "Withheld Amounts"). The

   Withheld Amounts total approximately $479,000 per month. The Archdiocese must then match from its

   own funds for social secwity and Medicare taxes and pay (the "Employer Payroll Taxes," and together

   with the Withheld Amounts, the "Payrolt Taxes"). The Payroll Taxes, including both the employee and

   employer portions, for 2019 were approximately $8,766,882. Before the Petition Date, the Archdiocese

   withheld appropriate amounts from Employees'eamings for the Payroll Taxes, but such funds may not yet

   have been forwarded to the appropriate taxing authorities. As       of the Petition Date, the   A¡chdiocese

   estimates that it has withheld but not remitted approximately 5422,000 in Payroll Taxes. As a result, the

   Archdiocese ask that it be authorized, but not directed, to continue to honor and process the prepetition

   payments for the Payroll Taxes on a postpetition basis, in the ordinary course ofbusiness, as routinely done

   before the Petition Date.

           77   .   Honoríng Checks for, ønd Pøyment of, Reímbursøble Expenses. Before the Petition Datc

   and in the ordinary course of its business, the Archdiocese reimburses Employees for certain expenses

   incured by the Employees in the scope of their employment (the "Reimbursable Expenses"). The

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    Reimbursable Expenses include certain expenses, all incurred in the ordinary course ofbusiness, for the

    following: (a) entertainment exponses incurred in developing business opportunities; (b) travet expenses

    for meals, hotels and rental cars, mileage; (c) professional dues/licenses and supplies; (d)     a   priest expense

    account for approximately 35 priests capped at $600 for each priest; and (e) priest medical expenses. The

    Archdiocese reimburses certain Employees for certain approved entertainment expenses incurred in the

    ordinary course of business. The Archdiocese also reimburses certaín Employees for reasonable meal, hotel

    and rental car expenses incurred when traveling in the course of their emplo¡rment. As of the petition Date,

    approximately $40,500 in total Reimbursable Expenses remains unpaid.

            78.     The Reimbursable Expenses were all incurred on the Archdiocese's behalf and with the

    understanding that they would be reimbursed. Accordingl¡ to avoid harming Employees who incurred the

    Reimbursable Expenses, the Archdiocese requests authority, to be exercised in its sole discretion, to (a)

    continue reimbursing the Reimbursable Expenses in accordance with prepetition practices, (b) modify its

   prepetition policies relating thereto as   it   deems appropriate, and (c) pay aII Reimbursable Expenses that

   accrued prepetition in an amount not to exceed $40,500.

            79.     Employee BeneJìts. The Archdiocese offers certain           of the Employees the ability to
   participate in health care insurance (the "Health Care Insurance Program"). The Health Care Insurance

   Program is described in more detail at Paragraphs 19-25 of the Insurance Motion, discussed above. In the

   Insurance Motion, the Archdiocese seeks authority to maintain the Insurance Program (as defined therein)

   that existed before the Petition Date, and to satisfu prepetition obligations related thereto, including paying

   any applicable premiums, fees, deductibles, and self-insured retentions.

           80. In addition to the Health Care Insurance               Program, the Archdiocese offers certain

   Employees dental and vision plans, vacation time and other paid leaves            of   absence,   life   insurance,

   accidental death and dismemberment insurance, short-term and long-term disability insurance, and 401(k)

   (collectively, the "Employee Benefit Programs"). These Employee Benefit Programs are described in

   more detail   below.   The Archdiocese's Employees who work a minimum of 20 hows per week may

   participate in the Health Care Insurance Program, as discussed in more detail in the Insurance Motion. The

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     Health Care Insurance Program provides health care coverage to approximately 3,800 Employees and their

     dependents which premiums are due on May 1,2020 for the period of May 2020. A portion of the cost              of
    the Health Care Program is paid ûom deductions through Employee payrolt. In the Wages Motion, the

    Archdiocese seeks authority to remit funds for premiums for the Health Care Inswance Program that have

    been deducted from the Employee's wages as of the Petition Date.

              8l   .     Certain Employees are eligible to participate in additional insurance, such as dental, vision

    insurance, with the applicable premiums for such insurance being paid from deductions made from the

    participants'      payroll.   The Archdiocese also offers a voluntary dental plan to all Employees, the costs   of
    which are paid entírely by the participating Employees (the "Guardian Dental Plan"). The Guardian

    Dental Plan is fully-insured that provides dental care coverage to approximately 431 Employees and their

    dependents which premiums are due on May            l,   2020 for the period of May 2020. The premium for the

    Guardian Dental Plan is paid from deductions through Employee payroll. The Archdiocese offers a

   voluntary vision plan to all Employees, the costs of which are paid entirely by the participating Employees

   (the "Vision Service Plan"). The Vision Service Plan provides vision care coverage to approximately 303

   Employees and dependents which premiums are due on May                l,   2020 for the period of May 2020. The

   premium for the Vision Service Plan is paid through deductions from deductions through Employee payroll.

   In the V/ages Motion, the Archdiocese seeks authority, to be exercised in its sole discretion (a) to continue

   the Dental Plan and the Vision Service Plan for its Employees in the ordinary course of business, (b)

   continue making the above-described contributions to the Health Care lnsurance Program, Dental Plan, and

   Vision Service Plan, and (c) pay any amounts related thereto, including on account of any deductions for

   premiums, to the extent that they remain unpaid as of the Petition Date.

             82.        The Archdiocese offers its Employees who work a minimum of 20 hours per week as a

   paid time-off benefit (the "Vacation Time"). The amount of Vacation Time available to a particular

   Employee and the rate at which such Vacation Time accrues is generally determined by the Employee's

   position and the length of full- time employ'rnent. When an Employee elects to take Vacation Time, that



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     Employee is paid his or her regular hourly or salaried rate. The A¡chdiocese estimates that approximately

     $598,000 of earned but unused Vacation Time          will have accrued as of the Petition Date.

                  83.   ln addition, in the ordinary course of business, Employees who work a minimum of 20

     hours per week are eligible for sick leave due to illness or injury up to 12 days per year ("Sick Leave',).

     Employees may not cash out their unused Sick Leave upon termination. The Archdiocese also allow its

    Employees to take certain other leaves ofabsence for personal reasons, many ofwhich are required by law

    ("Leaves of Absence"). Leaves of Absence include family medical leaves, pregnancy, adoption and foster

    care leaves, military leaves,   jury duty, voting   leaves, personal leaves and bereavement leaves. In the Wages

    Motion, the Archdiocese requests that it be authorized, but not directed, to continue to honor its Vacation

    Time, Sick Leave and Leaves ofAbsence policies in the ordinary course ofbusiness, and to honor and pay

    any prepetition amounts related thereto.

              84.       AddítíonøI BeneJíts. The Archdiocese offers its Employees who work a minimum of 20

    hours per week primary life insurance coverage, primary accidental death and dismemberment insurance

    and short- and long-term disability benefits through Guardian, a third-party insurer (the *Life and     AD&D
   Insurance, Short-Term Disability Benefits" and "Long-Term Disability Benefits"). The Archdiocese is

   charged a 2o/o contrlbution to cover costs for the foregoing benefîts by the "Employee Benefits Plan.,' As

   of the Petition Date, approximately      $21   ,000, remains unpaid, which accounts for the Archdiocese,s    2olo


   charge owed to the Plan on account of the Life and             AD&D Insurance, Short Term Disability and Long

   Term Disability Benefi ts.

   Employees who work a minimum of 20 hours per week are also offered the opporfunity to voluntarily

   purchase supplemental      life insurance through Guardian Supplemental Life and Accidental Death           and

   Dismemberment Insurance Programs (the "supplemental Life and AD&D Insurance'), the premiums

   for which are paid entirely by the electing Employee. The Archdiocese estimates that approximately 130

   Employees have elected to purchase Supplemental Life and AD&D Insurance. The Archdiocese estimates

   that it has withheld approximately $3,700 _ in Employee contributions for Supplemental Life Insurance

   before the Petition Date, which amount has not yet been transferred to Guardian. In the Wages Motion, the

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     Archdiocese requests authority to forward up to $3,700 in prepetition amounts for Supplemental Life and

     AD&D Insurance In the        Wages Motion, the Archdiocese also seeks authority to (a) continue to provide the

     Life and AD&D Insurance, short Term Disabilify and Long Term Disability Benefits and Supplemental

     Life AD&D Insurance (b) continue making all contributions to such programs, and (c) pay any and all such

     amounts to the extent that they remain unpaid on the Petition Date.

                  85.    The 401(k) Plan. The Archdiocese offers a 401(k) defined contribution plan (the "40t(k)

    Plan") to its lay employees and employees of affiliates through Voya. Employees electing to participate in

    the 401(k) Plan are required to contribute a minimum of 3% of their salaries, and may elect to contribute

    up to a maximum of 75%. The 401(k) Plan requires the Archdiocese to conhibute3.5o/o of the participants'

    salaries. Any remaining funds from the 2o/o contribution may be used as a discretionary employer

    conhibution to the 401(k) Plan. The 401(k) Plan administrator is the Archdiocese. The Archdiocese is

    charged a 3.5Yo contribution per pay period to cover costs for Life and AD&D Insurance, Short Term

    Disability and Long Term Disability Benefits by the Employee Benefits Plan. As of rhe petition Date,

    approximately $50,000, remains unpaid, which accounts for the Archdiocese's 3.5%o charge owed to the

   401(k) Plan. Incardinated priests of the Archdiocese, whose retirement from active service is duly accepted

   by the Archbishop, are eligible for retirement benefits under an unfunded retirement plan (the "Plan"). The

   Archdiocese has elected to account for these retirement benefits under accounting principles generally

   accepted in the United States of America, as a defined benefit pension       plan. In the Vy'ages Motion, the
   Archdiocese seeks authority to (a) continue to provide the 401(k) Plan for the Employees in the ordinary

   course of business (b) continue making all contributions to such progïams, (c) continue to pay any claims

   administrative fees related thereto, and (d) pay aîy and all such amounts to the extent that they remain

   unpaid on the Petition Date.

             86.        Hoasing Expenses. In the ordinary course of its business and pursuant to its obligations

   under Canon Law, the Archdiocese maintains a home that is owned by the Archdiocese and in which the

   Archbishop resides (the "Home"). The Archdiocese pays for the costs associated with maintaining the

  Home, in the approximate amount of $7,500 a month ("Housing Expenses"), including but not limited to

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     utilities, supplies and maintenance. As of the Petition Date, approximately $3,200 of Housing Expenses

     remain unpaid for the pre-petition period. The Housing Expenses were all incurred in accordance with

     prepetition practices. In the Wages Motion, the Archdiocese seeks authority to pay $3,200 in prepetition

    Housing Expenses and continue to pay for Housing Expenses in the ordinary course ofbusiness.

    E.          Expedited Motion for Interim and Final Order (i) Authorizing Postpetition Use Of Cash
                Collateral, (ii) Granting Adequate Protection to Lender, (iii) Modifying the Automatic Stay,
                (iv) Scheduling a Final Hearing, and (v) Granting Related Retief (the "Cash Collateral
                Motion") [Docket No. 5]

                87.    Prepetition, the Debtor is   a   borrower or guarantor on debt instruments that might give rise

    to a claim by various parties, including Hancock Whitney Bank, in cash assets held by the Debtor.

                88.    On April 1, 2017, the Louisiana Public Facilities Authority issued Refrinding Revenue

    Bonds (Archdiocese of New Orleans Project) Series 2017 (the"2017 Bonds") in the aggregate original

    principal amount of $41 ,895,000, all issued pursuant to the Trust Indenture of even date. The 201 7 Bonds

    are unsecured. Hancock Whitney Bank serves as the indenture trustee under the 2017 Bonds. Upon

    information and belief, Hancock Whitney Bank does not hold any of the debt under the 2017 Bonds.

               89.     Separately from the 2017 Bonds, the Archdiocese guaranties certain debt related          to   St.

   Anthony's Garden as described below. St. Anthony's Gardens ("SAG") is a non-profit Louisiana

   corporation formed in 2012 for the sole purpose of owning, developing and operating the SAG Project.

   The SAG Project is a rental fee-for-service senior living retirement community owned by SAG and known

   as St. Anthony's Gardens located     in   St. Tammany Parish, Louisiana. On or about December 1, 2013, the

   Authority issued bonds (the "SAG Senior Bonds") pursuant to a Loan Agreement of even date. The SAG

   Senior Bonds are secured by the SAG Project pursuant to a Multiple Indebtedness Mortgage properly filed

   in the mortgage records of St. Tammany Parish. The SAG Senior Bonds are guaranteed by the Archdiocese.

   Upon information and belief Hancock Whitney holds all of the debt for the SAG Senior Bonds. Neither

   SAG nor the Archdiocese is in default on account of the SAG Senior Bonds.

              90.     On or about April 25,2011          ,   SAG, as maker, issued a promissory note (the "SAG

   Subordinated Debt") in the original principal amount of $12,000,000 in favor of Hancock Whitney Bank



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     and guaranteed by the Archdiocese. Pursuant to the terms of the SAG Subordinated Debt, the Debtor,

     as Guarantor is required to keep minimum "IJnencumbered Liquid Assets" equal to the unsecured loan

     balance in Portfolio B as measured on a quarterly basis.

                91.    As of the Petition Date, the amount outstanding on the SAG Senior Bonds and the SAG

    Subordinated Debt equaled $47,155,104.96.

                                      Cash Collateral and Adequate Protection

                92.    As more fully explained above the Debtor has several accounts, including deposit accounts.

                93.    The cash in the deposit accounts of the Debtor may be the cash collateral of Hancock

    Whitney Bank pursuant to the terms of La. Rev. Stat. $ 6:316. In order to ensure that it has the necessary

    fimds and flexibility to manage its affairs in this Chapter I I Case, the Debtor has agreed to provide Hancock

    Whitney Bank with Adequate Protection as follows.

                94.    As adequate protection for the use of its cash collateral, the Debtor has offered and the

    Lender as accepted the following claims, liens, rights, and benefits on account of the Adequate Protection

   Obligations, in each case subject and subordinate to the Carve Out (as defined below):

               95.    Section 507(b) Claim. The Adequate Protection Obtigations due to             the   Lender shall

   constitute allowed joint and several superpriority Lender claims against the Debtor as provided in section

   507(b)      of the Bankruptcy Code, with priority in payment over any and all              unsecured claims and

   administrative expense claims against the Debtor, now existing or hereafter arising in the Chapter 11 Case

   (subject and subordinate only to the Carve Out (as defined below)), including all claims of the kinds

   specified or ordered pursuant to any provision        of the Bankruptcy Code, including without limitation,
   sections 105,326,328,330,331,503(b),506(c)           (subjectto entryof theFinal Order), 507(a),507(b),726,

   1113,    or I114, and shall at all times be senior to the rights of the Debtor, and any   successor trustee or any

   creditor, in the Chapter 11 Case or any subsequent proceedings, including without limitation any Chapter

   7 proceeding, under the    Bankruptcy Code (the "507(b) Claim"), which Lender claim shall have recourse to

   and be payable from all prepetition and postpetition property of the Debtor including, without limitation,




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     and solely upon entry ofthe Final Order, the proceeds and property recovered in respect ofany Avoidance

     Actions.

                  96.     Adequate Protection Liens. Effective as of the Petition Date, solely to the extent of the

     Adequate Protection Obligations, the Lender is hereby granted a valid, binding, continuing, enforceable,

     fully-perfected, non-voidable first priority lien and/or replacement lien on, and security interest in (the

     "Adequate       Protectio         '), subject and subordinate only to the Carve Out (as defined below), in the

    post-petition funds in the Prepetition Collateral and the Debtor's rights, title and interest in the account

    defined as Portfolio       A (collectively, the "Adequate Protectio              ") in the Debtor's   Expedited

    Motion for Entry of (A) Interim and Final Orders Authorizing (I) the Maintenance of Existing Accounts,

    Continued Use of Existing Cash Management System, and Continued Use of Existing Business Forms, (III)

    Waiving the Requirements of Section 345(b) of the Bankruptcy Code, and           (II!   Granting Related Relief,

    and (B) and Order Scheduling a Final Hearing ("Cash Management           Mo '). The Debtor stipulates       that

    it will not permit the balance in Portfolio A5 fall betow $10 miltion.


                                                     CONCLUSION

               For the reasons described herein and the First Day Motions, I believe that the prospect for achieving

   the objections for the benefit of the estate and its creditors, as well as any other parties-in-interest, will be

   substantially enhanced       if   the Court grants the relief requested in each of the First Day Motions and

   respectfully request the Court to do so.




              s
                  Portfolio A is a Custodial Account as defined and explained in the Bank Account Motion.


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                                             DECLARATION

     I declare, pursuant to 26 U.S.C. ç 1746, under penalty of perjury, that the foregoing is true and

     correct to the best of my information, knowledge, and belief.

    Dated: April30,2020


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                                                                     REVEREND PATzuCK CARR


    SWORN TO AND SUBSCRIBED
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    THIS 30th DAY OF APRIL, 2020.
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